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                                        MINUTES


 CASE NUMBER:            CRIMINAL NO. 17-00101-1 LEK
 CASE NAME:              USA vs. (01) Anthony T. Williams
 ATTYS FOR PLA:          Gregg Paris Yates
                         Kenneth M. Sorenson
 ATTYS FOR DEFT:         Anthony T. Williams, Pro se
                         Lars R. Isaacson (Stand-by)

       JUDGE:      Leslie E. Kobayashi         REPORTER:    Debra Read

      DATE:    2/20/2020                    TIME:         8:45 AM - 2:15 PM
                                         th
COURT ACTION: EP: Further Jury Trial - 11 day as to Defendant (01) Anthony T.
Williams held.

Defendant (01) Anthony T. Williams present in custody.

12 Jurors and 2 Alternates present.

Defendant Witnesses:
10) Sherri Kane (D, C, RD)
11) Leonard Horowitz, (D, C, RD)
12) Rosy Esprecion Thomas (D, C, RD)

Government’s Exhibits Admitted:

835
832
852
853
851

Defendant’s Exhibits Admitted:

2189

Jury excused for the day at 2:00 p.m.

Discussion outside the presence of the Jury.
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Status Conference regarding jury instructions set for February 21, 2020 at 2:30 p.m.
before Judge Kobayashi. Defendant (01) Anthony T. Williams’ oral request to participate
telephonically at the February 21, 2020 status conference regarding jury instructions is
GRANTED. The Government shall make arrangements with the United States Marshals
Service and the Federal Detention Center to ensure that Defendant (01) Anthony T.
Williams is able to participate telephonically at the status conference.

Defendant (01) Anthony T. Williams remanded to the Custody of the U.S. Marshal
Service.

Further Jury Trial-Day 12, SET for February 24, 2020 at 8:30 a.m. before
Honorable Leslie E. Kobayashi.


Submitted by: Mary Feria, Courtroom Manager
